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20
                         UNITED STATES DISTRICT COURT
21                      CENTRAL DISTRICT OF CALIFORNIA                \


22
23
     OLEG KORSAKOV, on behalf of                      Case No.: 2:20-CV-04579
     himself and all others similarly situated,
24                                                    CLASS ACTION COMPLAINT
                  Plaintiff,
25   v.
                                                      COMPLAINT FOR BREACH OF
26   UNITED FINANCIAL CASUALTY                        CONTRACT
27   COMPANY, an Ohio Corporation
                                                      DEMAND FOR JURY TRIAL
28                Defendant.

                                                  1
                                  CLASS ACTION COMPLAINT
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 1                            CLASS ACTION COMPLAINT
 2         Plaintiff Oleg Korsakov (“Plaintiff”), on behalf of himself and all others
 3
     similarly situated, files this Class Action Complaint against United Financial
 4
 5   Casualty Company (“United Financial”), and in support thereof states the
 6
     following:
 7
 8                                    INTRODUCTION
 9         1.     This is a class action lawsuit brought by Plaintiff, the named insured
10
     under his United Financial automobile policy issued for private passenger auto
11
12
     physical damage, including comprehensive and collision coverage (the “Policy”),

13   and concerns the payments made by United Financial to insureds who (a) lease the
14
     insured vehicle and (b) suffer a “total loss” of the insured vehicle.
15
16         2.     A “total loss” is an industry term of art that means it is not
17
     economically feasible to repair the damage and otherwise restore the insured
18
19   vehicle, and thus the insurer pays the cost to replace the vehicle, rather than the
20   cost to repair the damage to the vehicle (which would include replacement of any
21
     component parts). In other words, a “total loss” occurs where the amount of loss
22
23   or damage to the vehicle – i.e., the cost to repair the physical damage – exceeds
24
     the pre-loss actual cash value of the vehicle.
25
26         3.     In such situations, because the “actual cash value” (ACV) of the
27
     vehicle takes into account the pre-loss depreciation, age, mileage, market value,
28

                                                 2
                                  CLASS ACTION COMPLAINT
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 1   the promise to pay to replace the vehicle is reduced to an amount comporting with
 2
     the actual vehicle itself – i.e. of the same year, make, model, age, condition,
 3
 4   mileage, etc.
 5
           4.        Defendant complies with its Policy and California law by including
 6
 7   sales tax calculated as the applicable percentage of the pre-loss underlying value

 8   of the insured vehicle (“ACV sales tax”) if the vehicle was owned or financed.
 9
     However, Defendant breaches its Policy and California law by underpaying (or
10
11   not paying) sales tax if the insured vehicle was leased.
12
           5.        Nothing in the Policy makes any distinction between owned,
13
14   financed, or leased vehicles, nor does the Policy give any Notice whatsoever that
15   owned, financed, or leased vehicles are provided different or less coverage. To the
16
     contrary, the Policy defines and treats owned, financed, and leased vehicles
17
18   identically. Unsurprisingly, insureds pay precisely the same premium (all else
19
     being equal) for owned, financed, and leased vehicles in exchange for the same
20
21   promised coverage. The only time United Financial distinguishes between owned,
22
     financed, and leased vehicles is in payment of ACV sales tax, where United
23
24   Financial arbitrarily and in breach of the Policy makes such a distinction by

25   paying ACV sales tax if the vehicle was owned or financed, and not paying ACV
26
     sales tax if the vehicle was leased.
27
28

                                                 3
                                    CLASS ACTION COMPLAINT
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 1          6.     Pursuant to its standard Policy form language, the ACV of insured
 2
     vehicles is not based on the amount, if any, originally paid by the insured for the
 3
 4   total loss vehicle, nor on the amount, if any, paid by the insured to replace the
 5
     total loss vehicle.
 6
 7          7.     This lawsuit is brought by Plaintiff individually and on behalf of all

 8   other similarly situated insureds who have suffered damages due to United
 9
     Financials’ practice conditioning payment of full ACV sales tax based on whether
10
11   the insured vehicle was leased, notwithstanding that such condition is absent from
12
     the Policy, which, by contrast, promises the same coverage irrespective of whether
13
14   the insured vehicle is leased or not leased.
15          8.     The failure to pay ACV sales tax on first-party total losses owed to
16
     United Financial leased-vehicle insureds pursuant to United Financials’ uniform
17
18   policy language constitutes a breach of the policy.
19
                                         THE PARTIES
20
            9.     Plaintiff Oleg Korsakov is domiciled and resides in Los Angeles
21
22   County, California, and is a citizen of the State of California.
23
            10.    At all times material hereto, United Financial is and was a foreign
24
25   corporation located in the State of Ohio, incorporated in Ohio and with its

26   principal place of business in Ohio, and authorized to transact insurance in the
27
     State of California.
28

                                                    4
                                  CLASS ACTION COMPLAINT
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 1                                  JURISDICTION AND VENUE
 2            11.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §
 3
     1332(d)(2), because (a) Plaintiff is a member of the putative class, which consists
 4
 5   of at least 100 members, and Plaintiff and Defendant are citizens of different
 6
     states; (b) the amount-in-controversy exceeds $5 million dollars exclusive of
 7
 8   interest and costs; and (c) none of the exceptions under § 1332 apply to this claim.

 9            12.    Venue is proper in this court because a substantial portion of the acts
10
     and course of conduct giving rise to the claims alleged occurred within the district
11
12   and Defendant is subject to personal jurisdiction in this district.
13
                                     FACTUAL ALLEGATIONS
14
              A.     The United Financial Policy
15
              13.    Defendant United Financials’ policy language as to comprehensive
16
17   and collision coverage for ACV of total loss vehicles is standardized and is
18
     present in United Financial auto policies issued by Defendant in California.
19
20   Indeed, Plaintiff and all putative Class members were insured under a standard
21   form policy that includes identical material language. The Policy under which
22
     Plaintiff was insured, which is materially identical to the Policy under which all
23
24   putative Class members were insured, is affixed hereto as Exhibit A1.
25
     //
26   //
27
28
     1   Exhibit A is United Financials’ Policy Form 9611D CA 1014.
                                                      5
                                      CLASS ACTION COMPLAINT
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 1          14.    In Section IV of the Policy, entitled “DAMAGE TO A VEHICLE,”
 2
     United Financial states, in relevant part, that it will pay for “sudden, direct and
 3
 4   accidental loss to a … covered auto.” Exh. A at 21 of 40.
 5
            15.    “Collision” is defined as “the upset of a vehicle or its impact with
 6
 7   another vehicle or object.” Id. at 24 of 40.

 8          16.    Where a loss occurs, the Policy promises to “pay for the loss in
 9
     money” or to “repair or replace” the vehicle, id. at 24, subject to certain
10
11   limitations on liability, including ACV, id. at 26 of 40.
12
            17.    Pursuant to its Policy promises and California law, United Financial
13
14   properly pays ACV sales tax if the vehicle is owned or financed. However, United
15   Financial arbitrarily, and in breach of its contractual obligations and California
16
     law, fails to pay ACV sales tax if the insured vehicle is leased – instead, United
17
18   Financial pays only a small portion of ACV sales tax or does not pay ACV sales
19
     tax at all.
20
21          18.    There is no Policy justification for making such distinction. Far from
22
     promising something different depending on whether the insured vehicle is
23
24   owned, financed, or leased, the Policy language applies equally to all covered

25   autos irrespective of ownership interests.
26
            19.    “Covered auto” is defined as “an auto or trailer expressly identified
27
28   by make, model and vehicle identification number on the declarations page for the

                                                    6
                                  CLASS ACTION COMPLAINT
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 1   coverages applicable to that auto or trailer.” Id. at 6 of 40. In other words, the
 2
     Policy applies to a “Covered auto,” which is defined simply as the vehicle
 3
 4   identified on the declarations page, with no mention of whether the vehicle is
 5
     owned, financed, or leased.
 6
 7         20.    Further, the Policy includes a “Loan/Lease Payoff” provision – which

 8   is an additional coverage for which an additional premium is paid – which applies
 9
     to a “Covered auto” where the amount owed on a lien exceeds the amount paid by
10
11   United Financial for the total-loss claim. In other words, the Policy specifically
12
     contemplates that a “Covered auto” might be leased, or might be financed, or
13
14   might be owned. Every Policy provision on loss, damage, payment, exclusions,
15   and limitations on liability applies equally to a “Covered auto” without distinction.
16
           21.    Nothing in the Policy conditions payment on the amount paid, if any,
17
18   on the total loss vehicle, nor on the amount paid, if any, to replace the total-loss
19
     vehicle.
20
21         22.    The amount owed, including ACV sales tax, is the same whether the
22
     insured paid nothing for the total loss vehicle, paid less than what the vehicle was
23
24   worth, or paid more than what the vehicle was worth, and it is the same whether

25   the insured replaces the vehicle with a more expensive vehicle, a less expensive
26
     vehicle, or chooses not to replace the vehicle at all.
27
28   //

                                                  7
                                   CLASS ACTION COMPLAINT
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 1         23.     Nevertheless, United Financial breaches its Policy by imposing a
 2
     condition on payment of ACV sales tax based on whether the vehicle is owned,
 3
 4   financed, or leased. Such condition is completely absent from the Policy, which
 5
     instead defines such vehicles the same and treats them equally; thus, United
 6
 7   Financial extracontractual condition, based upon which United Financial pays

 8   ACV sales tax to owned/financed insureds but not to leased insureds, breaches the
 9
     Policy.
10
11         B.      Plaintiff’s Total Loss Claim
12         24.     At all times material hereto, Plaintiff Korsakov leased and insured a
13
     2016 Audi Q5 Premium 4 Door Utility vehicle.
14
15         25.     Plaintiff insured the vehicle under an insurance policy issued by
16
     Defendant. Exhibit A (Policy); Exhibit B (Decl. Sheet). Defendant insured
17
18
     Plaintiff’s vehicle according to this Policy at all times material hereto.

19         26.     On or about June 9, 2016, Plaintiff was involved in an accident while
20
     operating the insured vehicle. As a result of said accident, Plaintiff filed a claim
21
22   for property damage with Defendant.
23
           27.     Following the filing of said claim, United Financial determined that
24
25   the vehicle was a total loss with an underlying value (or adjusted value) of
26   $40,722.26.
27
     //
28

                                                  8
                                  CLASS ACTION COMPLAINT
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 1         28.    The underlying vehicle value are calculated based on the “sticker
 2
     price” or “sale price” of comparable vehicles listed for sale in the local market.
 3
 4         29.    The ACV sales tax owed to Plaintiff was $3,665.05 (underlying value
 5
     * .09) because the sales tax at the time was 9%.
 6
 7         30.    In breach of its contract with Plaintiff, United Financial did not pay

 8   ACV sales tax – instead, United Financial paid only $177.88 in sales tax, for an
 9
     underpayment of $3,487.17.
10
11         31.    Plaintiff does not seek the full amount of loss, and does not contest
12
     United Financials’ determination that the amount of loss constituted a “total loss”,
13
14   thereby capping United Financials’ liability for the loss at the pre-loss ACV of the
15   total-loss vehicle.
16
           32.    Defendant’s extracontractual distinction between owned, financed,
17
18   and leased vehicles – notwithstanding its Policy language treating and defining
19
     them the same – in payment of ACV sales tax constitutes a breach of the Policy.
20
21         33.    Plaintiff paid all premiums owed and otherwise satisfied all
22
     conditions precedent such that his insurance policy was in effect and operational
23
24   at the time of the accident. By paying the claim—albeit insufficiently— United

25   Financial acknowledged that Plaintiff satisfied all conditions precedent required
26
     under the Policy.
27
28

                                                 9
                                  CLASS ACTION COMPLAINT
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 1                            CLASS ACTION ALLEGATIONS
 2         34.     Plaintiff brings this action seeking representation of a class pursuant
 3
     to Federal Rule of Civil Procedure 23.
 4
 5         35.     Plaintiff brings this action as class representative, individually and on
 6
     behalf of all other persons or entities similarly situated, more specifically defined
 7
 8   as follows:
 9                 All individuals insureds under a California policy issued
10                 by United Financial Casualty Company covering a leased
                   vehicle with private-passenger auto physical damage
11
                   coverage who made a first-party claim determined to be a
12                 covered total-loss claim, where the total loss payment did
13                 not include sales tax calculated as the applicable state
                   and local percentage of the adjusted vehicle value (“ACV
14                 Sales Tax”), within four years prior to the date on which
15                 this lawsuit was filed through the date of any certification
                   order.
16
17
           36.     Certification of the above class is supported by the following
18
19
     considerations:

20                 a.    The relatively small amount of damages that
21                       members of the class have suffered on an
                         individual basis would not justify the prosecution
22                       of separate lawsuits;
23
                   b.    Counsel in this class action are not aware of any
24                       litigation against United Financial in which any of
25                       the members of the class is a party and which any
                         question of law or fact in the subject action can be
26
                         adjudicated; and
27
                   c.    No difficulties would be encountered in the
28                       management of Plaintiff’s claim on a class action
                                                  10
                                   CLASS ACTION COMPLAINT
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 1                       basis, because the class is readily definable and the
 2                       prosecution of this class action would reduce the
                         possibility of repetitious litigation.
 3
 4         37.    Although the precise number of members of the Class is unknown to
 5
     Plaintiff at this time and can only be determined through appropriate discovery,
 6
 7   upon information and belief, the class of persons affected by Defendant’s
 8
     unlawful practice alleged herein consists of thousands of individuals and are
 9
10   otherwise so numerous that joinder of all class members is impractical. The
11   unlawful practice alleged herein is a systematic and uniform practice, employed
12
     by Defendant in violation of standardized and uniform insurance policy language,
13
14   which results in the retention by Defendant of insurance benefits and monies
15
     properly owed to Plaintiff and the Class members.
16
17         38.    The precise number of members of the Class can only be determined
18
     through discovery. However, upon information and belief, including investigation
19
20   by their attorneys and public information concerning the statistical likelihood of

21   total losses per premiums written, Plaintiff believes the Class is comprised of
22
     more than 6,000 members. Numerosity under Rule 23(a)(1) is established.
23
24         39.    Rule 23(a)(2)’s commonality requirement is also satisfied. The
25
     central issues in this litigation turn on the interpretation of materially identical
26
27   policy provisions; thus, this case is well-suited for class-wide adjudication.
28

                                                  11
                                   CLASS ACTION COMPLAINT
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 1   Defendant and all members of the Class, including the Plaintiff, are bound by
 2
     materially identical policy terms.
 3
 4         40.    Common questions include (but are not limited to): (1) whether
 5
     Defendant’s standardized policy language defines and treats leased, financed, and
 6
 7   owned vehicles in a materially-similar manner; (2) whether United Financial

 8   makes the same promise as to leased, financed, and owned vehicles; (3) whether
 9
     the ACV of a vehicle depends on whether it is owned, leased, or financed; and (4)
10
11   whether United Financial owes ACV sales tax to leased-vehicle insureds.
12
     Commonality under Rule 23(a)(2) is established.
13
14         41.    Rule 23(a)(3)’s typicality requirement is satisfied because Plaintiff
15   and members of the Classes were injured by Defendant’s uniform misconduct.
16
     Further, Plaintiff and Class members’ legal claims arise from the same core
17
18   practices and are based upon the same legal theories as those of the members of
19
     the Classes. Plaintiff suffered the same harm as all other members of the Class,
20
21   and is not subject to any unique defenses nor does Plaintiff bring any unique
22
     claims. The relevant Policy provisions for each Class member are the same. The
23
24   relevant law relating to the interpretation and application of those Policy

25   provisions for each Class member is the same. Typicality under Rule 23(a)(3).
26
           42.    Rule 23(b)(3)’s predominance requirement is satisfied because the
27
28   previously articulated common issues of fact and law predominate over any

                                                 12
                                  CLASS ACTION COMPLAINT
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 1   question solely affecting individual Class members. The common questions are
 2
     dispositive to every claim, the answer to which will resolve virtually the entirety
 3
 4   of the claims in a single stroke.
 5
           43.    Further, the measure of damages, if any, is the same for every
 6
 7   member of both Classes, and any variances in damages will reflect only variances

 8   in underlying vehicle values (some vehicles are more expensive than others, and
 9
     thus the applicable ACV sales tax owed will be different), the application of
10
11   which is a purely ministerial function. Otherwise, there are no individualized
12
     questions of fact or law.
13
14         44.    Further, Rule 23(b)(3)’s superiority requirement is met here: class
15   treatment is superior to any other alternative method of adjudication because the
16
     damages suffered by individual members of both Classes is relatively small, their
17
18   interests in maintaining separate actions is questionable and the expense and
19
     burden of individual litigation makes it impracticable for Class members to seek
20
21   individual redress for the wrongs done to them. Even if some members of the
22
     Classes could afford individual litigation, the court system could not. Thousands
23
24   of individual cases asserting precisely the same claim that Plaintiff asserts here

25   would be uneconomical and would strain (indeed, likely overwhelm) judicial
26
     resources. It is desirable to concentrate the litigation of the Class members’ claims
27
28   in one forum, as it will conserve party and judicial resources and facilitate the

                                                 13
                                  CLASS ACTION COMPLAINT
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 1   consistency of adjudications. No difficulty would be encountered in the
 2
     management of this case that would preclude its maintenance as a class action.
 3
 4         45.    Plaintiff and her counsel will fairly and adequately protect and
 5
     represent the interests of each member of the Class. Plaintiff possesses no conflict
 6
 7   with members of the Classes. Plaintiff’s claim does not conflict with that of any

 8   member of the Classes, and Plaintiff has no financial or any other interest
 9
     conflicting with those of the Class. Plaintiff fully intends to vigorously protect the
10
11   interests of Class members in prosecuting these claims.
12
           46.    Plaintiff is committed to the vigorous prosecution of this action and
13
14   retained competent counsel experienced in prosecuting and defending class
15   actions. Moreover, Plaintiff’s counsel has successfully litigated other class action
16
     cases similar to that here, where insurers breached contracts with insureds by
17
18   failing to include ACV Sales Tax after total losses.
19
                                   CLAIM FOR RELIEF
20
                                BREACH OF CONTRACT
21
           47.    Plaintiff incorporates by reference the previous paragraphs as though
22
23   fully set forth herein.
24
           48.    Plaintiff was party to an insurance contract with Defendant as
25
26   described herein. All Class members were parties to insurance contracts with
27
     Defendant containing materially identical terms.
28

                                                 14
                                  CLASS ACTION COMPLAINT
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 1         49.    The interpretation of Plaintiff’s and all Class members’ Policies is
 2
     governed by California law.
 3
 4         50.    Plaintiff and all Class members made a claim determined by
 5
     Defendant to be a first-party total loss under the insurance policy and determined
 6
 7   by Defendant to be a covered claim.

 8         51.    Defendant, by paying the total loss claim, determined that Plaintiff
 9
     and each Class members complied with the terms of his or her insurance contract,
10
11   and fulfilled all required duties and conditions under the Policies for the insured to
12
     be paid on his or her total loss.
13
14         52.    As to Plaintiff and each Class Member, Defendant determined that
15   the total-loss vehicle was a leased vehicle and imposed an extracontractual
16
     condition in breach of the Policy by declining to pay ACV Sales Tax.
17
18         53.    Because the Policy imposes no such distinction, but rather provides
19
     the same coverage to any “Covered auto” irrespective of whether it was owned,
20
21   financed, or leased, Defendant’s failure to pay ACV sales tax constitutes a
22
     material breach of contract with Plaintiff and every Class member.
23
24         54.    As a result of said breaches, Plaintiff and the Class members are

25   entitled, under Defendant’s Policies, to sums representing the benefits owed for
26
     ACV sales tax (less any amount in sales tax already paid), as well as costs, pre-
27
28

                                                 15
                                   CLASS ACTION COMPLAINT
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 1   judgment and post-judgment interest, injunctive relief and other relief as is
 2
     appropriate.
 3
 4                                 PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff, individually and on behalf of the Class, demands
 6
     a trial by jury on all triable issues and seek and pray for relief and judgment as
 7
 8   follows:
 9         a.       For an Order certifying this action as a Class Action on behalf of the
10
                    Class described above;
11
12         b.       For an award of compensatory damages for Plaintiff and members of
13
                    the Class in amounts owed under the Policies;
14
15         c.       For all other damages according to proof;
16
           d.       For an award of attorney’s fees and expenses as appropriate pursuant
17
18
                    to applicable law;

19         e.       For pre- and post- judgment interests on any amounts awarded; and
20
           g.       For other and further forms of relief as this Court deems just and
21
22                  proper.
23
     //
24
     //
25
     //
26
     //
27
     //
28

                                                 16
                                   CLASS ACTION COMPLAINT
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 1                                   JURY DEMAND
 2
          Plaintiff demands a trial by jury on all issues so triable.
 3
 4
 5   Dated: May 19, 2020                    Respectfully submitted,
 6
                                      By:     /s/ William Litvak
 7
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26
27
28

                                                17
                                 CLASS ACTION COMPLAINT
